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            BAYLOR UNIVERSITY
            Abner V. McCall • President
            Waco, Texas 76703

            January     12, 1976



            D~rector of the Office for Civil Rights
            u." S. Department of Health, Education
                      and Welfare
            Washington, D. c. 20201

            Dear Sir:

            Pursuant- to Sec. 86.12(b) of "Title IX Regulation Implementing
            Education Amendments of 1972 Prohibiting          Sex Discrimination    in
            Education,'.!.. this letter   is to advise that Baylor University
            of Waco, Texas, is an educational       institution    which is controlled
            by the Baptist General Convention of Texas and that the following
            portions of the above mentioned regulations          are not consistent
            with the religious     tenets of such organization.

                1.    Premarital    unchastity whether on the part of
                      a man or woman is contrary to the tenets of
                      the Southern Baptists.       Insofar as these
                      regulations    require Baylor University to
                      treat the pregnancy, childbirth,         false preg-
                      nancy or termination      of pregnancy of an
                      unmarried woman as a mere temporary dis-
                      ability    such regulations   conflict    with the
                      tenets of Southern Baptists.         Such regula-
                      tions pertaining      to umnarried women whether
                      students or prospective      students or employees
                      or prospective     employees are inconsistent
                      with the policies      of the university     and
                      Southern Baptists.       These inconsistent
                      regulations    include Sec. 86.21 (c)', 86.39,
                      86.40, 86.51 (b)(6), 86.57 (a) (1), (b), (c),
                      86.60(a).

                2.     It is the tenet and practice          of practically
                       all Southern Baptist churches that only men
                       should be liceqsed and ordained for the
                       ministry.    The Baptist General Convention of
                       Tex.as awards a 'partial      scholarship    to every
                      ·1.1&enJe4 ministerial      student attend~ng Baylor
                       Univerai;ty.    Baylor University matches tb;s
                       partial   scholarship.      Section 86.37(a)(b)      of
                       such regulations      is inconsistent     with this
                       Southern Baptist tenet.         Educational programs




EXHIBIT A                                                                                      1
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        Director of the Office           for Civil   Rights
        January 12, 1976


                    designed for ministerial     students and campus
                    clubs and programs primarily      for ministerial
                    students will reflect    this tenet.    The follow-
                    ing regulations   may be inconsistent    therewith:
                    Sec. 86.6(c),   86.11, 86.31, 86.34, 86.36(c),
                    86.38 (a) (1) (2).

                    Licensed and ordained Baptist ministers    are
                    given preference  in employment in certain    offices,
                    e.g. chaplain and certain academic departments,
                    e.g. Department of Religion.    Since women are not
                    licensed or ordained as ministers,   such tenet
                    is inconsistent  with Sec. 86.51, 86.53, 86.SS(a).

       Sincerely,

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       Abner V. McCall
       President

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EXHIBIT A                                                                                2
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                          UNITED STATES DEPARTMENT OF EDUCATION
                        OFFICE   OF THE ASSISTANT   SECRETARY   FOR CiVIL   RIGHTS

                                         SEP 2 '- t"'!i5




       Or. Herbert H. Reynolds
       President
       Baylor University
       Waco, Texas 76798
       Dear President Reynolds:
       The Office for Civil Rights of the Department of Education (OCR/ED)is
       in the process of resolving a number of pending requests for religious
       exemption from·Title IX of the Education Amendmentsof 1972. Our records
       indicate that Baylor University filed such a request, but there is no
•      record that OCRadequately acknowledged this request •
       We have recently reviewed the request filed by former President McCall
       (copy enclosed) in which he described several policies practiced at Baylor
       University as being consistent with the tenets of the religious organiza-
       tion that controls the institution.    These policies would violate certain
       sections of the regulation implementing Title IX {copy enclosed) absent
       a religious exemption. The former president supplied information in his
       request letter that establishes that Baylor University is controlled by
       a religious organization and that tenets followed by this organization
       conflict with specific sections of the Title IX regulation.     Therefore,
       I am granting Baylor University an exemption to those sections of the
       Title IX regulation appropriate to the request letter.     The exemption
       is limited to the extent that compliance with the Jitle IX regulation
       conflicts with the religious tenets followed by the institution.      Baylor
       University is hereby exempted from the requirements of the following
       sections of the Title IX regulation:    34 C.F.R. §§ 106.6(c), 106.2l(ci,
       106.31, 106.34, 106,36(c)._, 106.37(a) and {b), 109.38.(a); 106.39,; 106.40,,
       106.51,'106.53, 106.55(a), 106.57-·and 106.60{a): The basis for our
       decision to grant this exemption is discussed in further detail below.
       The request letter indicates that Baylor University is controlled by
       the Baptist General Convention of Texas. This relationship between the
       Baptist General Convention and Baylor University adequately establishes
       that Baylor University is controlled by a religious organization as is
       required for consideration for exemption under§ 106.12 of the Title IX
       reg ul at i on•               •··




    EXHIBIT A                                                                                      3
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      In the request letter, the former president indicates that premarital
      unchastity is contrary to the religious tenets of Southern Baptists.
      Additionally, treating pregnancy, childbirth,  false pregnancy, or termina-
      tion of pregnancy of an unmarried womanas a temporary disability    is
      contrary to the tenets of Southern Baptists.   Based on these principles,
      Baylor University has requested and is granted by this letter exemption
      to: § 106.21(c, (marital or parental status of applicants for admission),
      § 106.39.(health and insurance benefits and services),§   106.40 (marital
      or parental stat~s of students), 106.Sl{b){6) (leaves of absence for preg-
      nancy and.related conditions and child care),§ 106.57 {marital or parental
      status of employees) and§ 106.60(a) (pre-employment inquiries regarding
      marital status).
      The request letter indicates that almost all Southern Baptist churches
      allow only men to be licensed and ordained for the ministry.       The Baptist
      General Convention of Texas awards a partial scholarship to every licensed
      ministerial student attending Baylor University, and Baylor University
      matches this partial scholarship.    Also, some educational programs and
•     campus clubs are designed for ministerial students.      Based on this principle,
      Baylor University has requested and is granted by this letter exemption to:
      § 106.6(c--) {effect of rules or regulations of private organizations),
      § 106.31 (education programs and activities),§      106.34,(access to course
      offerings),§    106.36{c) (counseling - disproportion in classes),§     106.37(a)
      and (b) (financial assistance) and§ 106.38{a) (employment assistance to
      students).                                     ·
      The former president's letter indicates that licensed and ordained ministers
      are given preference in employment in certain offices, and womenare not
      licensed or ordained as ministers.   Based on this principle, Baylor Uni-
      versity has requested and is granted by this letter exemption to: § 106.51
      (employment),§ 106.53 (recruitment of employees) and§ 1Q6.55{a) (job
      classification  and structure).
                                                               I
      Baylor University also requested exemption to§ 106.11 regarding the appli-
      cation of the Title IX regulation.    The request letter did not demonstrate
      that the institution's   practices conflict with all sections of the Title IX
      regulation.   Therefore, no exemption has been granted for§ 106.11.
      This letter should not be construed to grant exemption from any section of
      the Title IX regulation not specifically mentioned. In the event that OCR
      receives a complaint against your institution,     we are obligated to determine
      initially whether the allegations fall within the exemption herein granted.
      Also, in the unlikely event that a complainant alleges that the practices
      followed by the institution    are not based on the religious tenets of the
      controlling organization, OCRi~· obligated to contact the controlling
      organization to verify those tenets.      If the org·anization provides an              •
      interpretation   of tenets that has a different practical impact than that
      described by the institution,    or if the organization denies that it controls
      the institution,   this exemption will be rescinded.




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      I hope this letter responds fully to your request. I regret the inordinate
      delay in responding to your original request. If you have any questions,
      please do not hesitate to contact the Dallas Regional Office for Civil Rights.
      The address is:
                         Taylor D. August
                         Regional Civil Rights Director
                         Office for Civil Rights, Region VI
                         Department of Education
                         1200 Main Tower Building, Suite 400
                         Dallas, Texas 75202
                                             Sincerely,

                                              4A'/111'1~
                                             H~J~     Singleton
•                                            Assistant Secretary
                                               for Civil Rights
      Enclosures
      cc:    Taylor D. August, Regional Civil Rights Director, Region VI




    EXHIBIT A                                                                      5
